        Case 2:15-mj-00207-AC Document 77 Filed 09/13/16 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          No. 2:15-mj-00207 AC
12                      Plaintiff,                      No. 2:15-cr-00218 AC
13          v.                                          ORDER
14   WILLIAM LOUIS FILTER,
15                      Defendant.
16

17          Defendant William Louis Filter was convicted by a jury of two misdemeanor counts on

18   May 3, 2016. Judgment and sentence were pronounced on June 17, 2016. Defendant filed a

19   notice of appeal on June 30, 2016. On July 25, 2016, represented by new counsel, defendant

20   moved for leave to file an out-of-time Rule 33 motion for a new trial. ECF No. 68. On the date

21   set for hearing on the matter, September 12, 2016, defendant’s counsel reported that she had not

22   heard from Mr. Filter since late July and that he had not paid his legal bills. Counsel had advised

23   the defendant in writing of the September 12 hearing, and explained that she intended to seek

24   leave to withdraw if he failed to pay his bill by that date. In light of the status of counsel issue,

25   the court continued argument on the motion for extended time to seek a new trial pursuant to Rule

26   33 (ECF No. 68).

27          At the court’s direction, counsel has now filed a formal motion to withdraw. ECF No. 76.

28   Local Rule 182(d) requires leave of court upon noticed motion before an attorney may withdraw
                                                        1
        Case 2:15-mj-00207-AC Document 77 Filed 09/13/16 Page 2 of 2


 1   leaving a client in pro per. Counsel’s motion is set for hearing on September 26, 2016 at 9:00
 2   a.m. Hearing on the motion to file an out-of-time Rule 33 motion for new trial has been
 3   continued to the same date. Mr. Filter must personally appear at the September 26 hearing,
 4   whether or not he opposes counsel’s request to withdraw. He may, but is not required to, file
 5   a written response to counsel’s motion to withdraw prior to the hearing date.
 6          Should Mr. Filter fail to appear, his non-appearance will be construed as non-opposition to
 7   the granting of the motion to withdraw and the motion will be granted. In that case, Mr. Filter
 8   will be solely responsible for pursuing Rule 33 relief and/or appeal in pro per (unless and until he
 9   secures new counsel). Accordingly, should Mr. Filter fail to appear on September 26, 2016, his
10   non-appearance will further be construed as an abandonment of the request for additional time to
11   prepare and file a motion under Rule 33 (ECF No. 68). If Mr. Filter seeks additional time to
12   secure new counsel, he may make such a request before or at the September 26 hearing.
13          Accordingly, IT IS HEREBY ORDERED as followed:
14          1. Defendant William Louis Filter shall personally appear on September 26, 2016 at 9:00
15              a.m., in Courtroom 26, for hearing on the pending motions (ECF Nos. 68 and 76);
16          2. Should Mr. Filter fail to appear, his non-appearance will be construed as (1) non-
17              opposition to counsel’s motion to withdraw (ECF No. 76), which will be granted; and
18              (2) abandonment of the motion for extension of time to prepare and file a motion
19              under Rule 33 (ECF No. 68), which will be stricken;
20          3. The Clerk shall serve this Order on William Louis Filter at the following address:
21                  2266 Encinal Road
                    Live Oak, CA 95953
22

23          IT IS SO ORDERED.
24   DATED: September 13, 2016
25

26

27

28
                                                      2
